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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

     Criminal Case No. 21-CR-00035 REB-JMC-1

     UNITED STATES OF AMERICA,

     Plaintiff,
     V.

     KARL KLOEPPEL.

     Defendant.



                  RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE



   James M. Candelaria, United States Magistrate Judge.


            This matter is before this Court on Defendant's Motion To Suppress Statements

  docket #97 and Motion to Suppress Illegal Search of Vehicle docket#98. Pursuant to 28 U.S.C.

  §636(b)(l) and D.C. Colo.L.Civ.R. 72.l(C)(3), the above Motions have been referred to this Court

  for recommendation [docket# 103]. This Court has reviewed the relevant Motions, Government's

  Response, briefs by both parties, the entire case file, the applicable law and further held a

  suppression hearing whereby testimony was offered, exhibits admitted and argument given by both

  parties. Wherefore, this Court is sufficiently advised in the premises.

        For the reasons that follow, the Court RECOMMENDS Defendant's Motion to Suppress

   Statements docket#98 be DENIED IN PART and GRANTED IN PART and Defendant's

   Motion to Suppress Illegal Search of Vehicle docket# 100 be DENIED in its entirety.




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